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                                 UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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        DAVIS YU                                  Case No. 2:24−cv−01343−WLH−SSC
   12
                           Plaintiff(s),
                                                  ORDER SETTING SCHEDULING
   13 v.                                          CONFERENCE
   14 VIDY, INC., et al.                          Date:            June 21, 2024
   15                  Defendant(s).
                                                  Time:             01:00 PM
   16                                             Courtroom:       9B
   17
   18
   19         READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE

   20         AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

   21         This case has been assigned to United States District Judge Wesley L. Hsu.

   22    This matters is set for a Scheduling Conference on the above date in Courtroom 9B

   23    of the First Street Courthouse, 350 West 1st Street, Los Angeles, CA 90012.

   24    A.   PRELIMINARY MATTERS

   25         1.   Service of Pleadings. If plaintiff has not already served the operative

   26    complaint on all defendants, plaintiff shall do so promptly and shall file proofs of

   27    service of the summons and complaint within three (3) days thereafter. See Fed. R.

   28    Civ. P. 4. Defendants also shall timely serve and file their responsive pleadings (if


                                                 1.
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   1    not previously done) and comply the requirements of Local Rule 5-3.2. At the

   2    Scheduling Conference, the court will set a date by which motions to amend the

   3    pleadings or add parties must be heard.

   4         2.   Order Applies to Pro Se Litigants. “Counsel,” as used in this Order,

   5    includes parties who have elected to appear without counsel and are representing

   6    themselves in this litigation (hereinafter referred to as “Pro Se Litigants”). Pro Se

   7    Litigants must comply with this Order, the Federal Rules of Civil Procedure, and

   8    the Local Rules. See L.R. 1−3, 83−2.2.3. Pro Se Litigants are required to

   9    participate in the scheduling conference.

   10        3.   Notice to be Provided by Counsel. Plaintiff’s counsel or, if plaintiff is a

   11   Pro Se Litigant, defendant’s counsel, shall provide this Order to all known parties

   12   who have not yet appeared or who appear after the date of this Order. This and

   13   all other applicable orders in this case are available at the bottom of Judge Hsu’s

   14   webpage (http://www.cacd.uscourts.gov/honorable−wesley−l−hsu). The Local

   15   Rules are available on the Central District of California website

   16   https://www.cacd.uscourts.gov/court-procedures/local-rules).

   17        4.   Compliance with Fed. R. Civ. P. 26. The scheduling conference will

   18   be held pursuant to Fed. R. Civ. P. Rule 16(b). The parties are reminded of their

   19   obligations to (i) make initial disclosures “without awaiting a discovery request”

   20   (Fed. R. Civ. P. 26(a)(1)) and (ii) confer on a discovery plan at least twenty-one

   21   (21) days before the scheduling conference (Fed. R. Civ. P. 26(f)). The Court

   22   encourages Counsel to agree to begin to conduct discovery actively before the

   23   Scheduling Conference. At the very least, the parties shall comply fully with the

   24   letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain and produce most of

   25   what would be produced in the early stage of discovery. At the scheduling

   26   conference the Court will impose strict deadlines to complete discovery.

   27        5.   Participation of Lead Trial Counsel and Unrepresented Parties.

   28   Lead trial counsel and any unrepresented parties must attend the scheduling


                                                  2.
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   1    conference, unless excused by the Court for good cause prior to the conference.

   2         6.   Continuance. A request to continue the scheduling conference will be

   3    granted only for good cause. The parties should plan to file the Joint Rule 26(f)

   4    Report on the original due date even if a continuance is granted. The Court will not

   5    continue the scheduling conference to allow the parties to explore settlement.

   6         7.   Vacating the Conference. The Court may vacate the scheduling

   7    conference and issue a case management order based on the Joint Rule 26(f)

   8    Report.

   9    B.   PARTIES MUST PREPARE AND FILE A JOINT RULE 26(f) REPORT

   10        The Joint Rule 26(f) Report must be filed not later than fourteen (14) days

   11   before the scheduling conference. A Mandatory Chambers Copy of the Joint Rule

   12   26(f) Report must be delivered to Judge Hsu’s box outside of the Clerk’s Office

   13   on the fourth floor of the First Street Courthouse by 12:00 p.m. (noon) the day

   14   after the Joint Rule 26(f) Report is filed. The Report shall be drafted by plaintiff

   15   (unless plaintiff is a Pro Se Litigant or the parties agree otherwise) but shall be

   16   submitted and signed jointly. “Jointly” means a single report, regardless of how

   17   many separately- represented parties exist in the case. The Joint Rule 26(f)

   18   Report shall specify the date of the Mandatory Scheduling Conference on the

   19   caption page. Under the title, it shall list the dates of the (1) Original Complaint;

   20   (2) Removal (if removed); (3) ResponsivePleading; (4) and Trial (Proposed). The

   21   Joint Rule 26(f) Report shall report all thefollowing information, which include

   22   those required to be discussed by Rule 26(f) and Local Rule 26, and use numbered

   23   section headings and lettered sub-headings that correspond to those below:

   24        1.   Statement of the Case. A short synopsis (not to exceed two (2) pages)

   25   of the main claims, counterclaims, affirmative defenses, and procedural history.

   26        2.   Subject Matter Jurisdiction. A statement of the specific basis of

   27   federal jurisdiction, including supplemental jurisdiction. For federal question

   28   jurisdiction, cite the federal law under which the claim arises. For diversity


                                                 3.
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   1    jurisdiction, state each party’s citizenship and the amount in controversy.

   2         3.   Legal Issues. A brief description of all key legal issues, including any

   3    significant procedural, substantive, or evidentiary motions.

   4         4.   Parties, Evidence, etc. A list of parties, percipient witnesses, and key

   5    documents on the main issues in the case. For conflict purposes, corporate parties

   6    must identify all subsidiaries, parents, and affiliates.

   7         5.   Damages. The realistic range of provable damages.

   8         6.   Insurance. Whether insurance coverage exists, the extent of coverage,

   9    and whether there is or will be a reservation of rights.

   10        7.   Motions.

   11             (a)    Procedural Motions. A statement of the likelihood of motions

   12   seeking to add other parties or claims, file amended pleadings, transfer venue, or

   13   challenge the court’s jurisdiction.

   14             (b)    Dispositive Motions. A description of the issues or claims that

   15   any party believes may be determined by motion to dismiss or motion for summary

   16   judgment. The parties should refer to the Court’s Standing Order for Motions for

   17   Summary Judgment for specific guidelines governing summary judgment motions.

   18   For patent cases, parties should refer to the Court’s Standing Order regarding

   19   Patent Cases.

   20             (c)    Class Certification Motion. For a putative class action, the Court

   21   will set a deadline for hearing the class certification motion. The motion must be

   22   filed sufficiently far in advance of the deadline to allow for: (i) at least three (3)

   23   weeks between the filing of the reply and the hearing; (ii) four (4) weeks for the

   24   opposition; and (iii) two (2) weeks for the reply. The parties must act diligently

   25   and begin discovery immediately, because the motion must be filed not later than

   26   one hundred and twenty (120) days from the date originally set for the scheduling

   27   conference, unless the Court orders otherwise. Any request for additional time

   28   beyond the one hundred and twenty (120) days must be supported by a detailed


                                                  4.
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   1    “Class Certification Plan”−attached as an exhibit at the end of the Report− showing

   2    all anticipated activity and the corresponding date for each activity, up to the

   3    hearing on the motion. The failure to provide the Class Certification Plan will

   4    result in the denial of additional time.

   5         8.   Manual for Complex Litigation. A statement regarding whether all or

   6    part of the procedures of the Manual for Complex Litigation should be utilized.

   7         9.   Discovery.

   8              (a)    Status of Discovery. A discussion of the present state of

   9    discovery, including a summary of pending and completed discovery, and any

   10   current or anticipated disputes.

   11             (b)    Discovery Plan. A detailed discovery plan, as contemplated by

   12   Fed. R. Civ. P. 26(f). State what, if any, proposed changes in the disclosures under

   13   Fed. R. Civ. P. 26(a) should be made; the subject(s) on which discovery may be

   14   needed and whether discovery should be conducted in phases or otherwise be

   15   limited; whether applicable limitations should be changed or other limitations

   16   imposed; and whether the Court should enter other orders. A general statement

   17   to the effect that discovery will be conducted on all claims and defenses is

   18   unacceptable.

   19             (c)   Discovery Cut-off. A proposed discovery cut-off date governing

   20   the completion of all fact discovery, including resolution of all discovery motions.

   21             (d)    Expert Discovery. Proposed dates for expert witness disclosures

   22   (initial and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

   23             (e)   Settlement Conference/Alternative Dispute Resolution (ADR).

   24   A statement of what settlement negotiations have occurred, excluding any

   25   statement of the terms discussed. If a Notice to Parties of Court-Directed ADR

   26   Program (Form ADR08) was filed in this case, the court will refer the matter for

   27   ADR. The parties must state their preference in the Joint Rule 26(f) Report for:

   28   (i) the Magistrate Judge, (ii) the Court Mediation Panel, or (iii) a private


                                                   5.
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   1    mediator (at the parties’ expense). The Court will exercise its discretion to select

   2    an ADR option for the parties if they fail to state a preference. No case will proceed

   3    to trial unless all parties, including an officer of all corporate parties (with full

   4    authority to settle the case), have appeared personally and participated in an

   5    ADR proceeding.

   6                (f)   Trial.

   7                      i.     Trial Estimate. Provide a realistic estimate, in days, of the

   8    court time required for trial and whether trial will be by jury or by court. Each side

   9    should specify (by number, not by name) how many witnesses it contemplates

   10   calling. If the time estimate for trial given in the Joint Rule 26(f) Report exceeds

   11   four (4) court days, counsel shall be prepared to discuss in detail the basis for the

   12   estimate.

   13                     ii.    Jury or Court Trial. Specify whether trial will be by jury

   14   or by court. The default will be a court trial if the parties fail to specify.

   15                     iii.   Consent to Trial Before a Magistrate Judge. Whether the

   16   parties agree to try the case (either by jury or court trial) before a magistrate judge.

   17   See 28 U.S.C. § 636 (requiring party consent). The parties are strongly encouraged

   18   to consider consenting to trial before a Magistrate Judge. One benefit to giving

   19   such consent is that the parties almost always will be able to proceed to trial sooner

   20   than on a District Court Judge’s calendar. Additionally, the parties are free to select

   21   from among all Magistrate Judges available for this purpose, not just the Magistrate

   22   Judge assigned to the parties’ case. The Magistrate Judges have experience and

   23   expertise in a variety of areas, including patent and trademark litigation. If the

   24   parties consent to trial before a Magistrate Judge, the parties may choose any

   25   Magistrate Judge identified on the Central District website and submit the

   26   appropriate consent form.

   27                     iv.     Lead Trial Counsel. List the name of the attorney who will

   28   serve as lead trial counsel, as well as other attorneys who will participate in the


                                                    6.
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   1    trial. Only one attorney for a party may be designated as lead trial counsel unless

   2    otherwise permitted by the Court. If a second lead trial counsel is permitted by the

   3    Court, both counsel must attend the Pretrial Conference.

   4              (g)   Independent Expert or Master. State whether this is a case in

   5    which the Court should consider appointing a master pursuant to Fed. R. Civ. P. 53

   6    or an independent scientific expert. The appointment of a master may be especially

   7    appropriate if there are likely to be substantial discovery disputes, numerous claims

   8    to be construed in connection with a summary judgment motion, a lengthy Daubert

   9    hearing, a resolution of a difficult computation of damages, etc.

   10             (h)    Other Issues. A statement of any other issues affecting case

   11   management, including unusually complex technical issues, related litigations,

   12   disputes over protective orders, extraordinarily voluminous document production,

   13   non−English speaking witnesses, reasonable ADA accommodations, discovery in

   14   foreign jurisdictions, the applicability of foreign law, the advanced age or health of

   15   parties or key witnesses, and any proposals concerning severance, bifurcation, or

   16   other ordering of proof.

   17   C.   PARTIES MUST PREPARE AND FILE SCHEDULE OF PRETRIAL

   18        AND TRIAL DATES WORKSHEET

   19        Complete the text-fillable Schedule of Pretrial and Trial Dates Worksheet

   20   (“Worksheet”), see below, which is available at the bottom of Judge Hsu’s

   21   webpage, (http://www.cacd.uscourts.gov/honorable−wesley−l−hsu). In addition to

   22   filing the Schedule of Pretrial and Trial Dates Worksheet along with the Joint Rule

   23   26(f) Report, Counsel must email the text−fillable Worksheet to Chambers at

   24   WLH_Chambers@cacd.uscourts.gov along with the Joint Rule 26(f) Report. The

   25   Court will then issue an order setting the schedule governing the case. Therefore,

   26   the parties must make every effort to agree on all pretrial and trial dates.

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   1                                        JUDGE WESLEY L. HSU
                              SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
   2                Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                       The Court ORDERS the parties to make every effort to agree on dates.
   3
            Case No.                             Case Name:
   4
                                                                                      Parties’ Joint   Court Order
                           Trial and Final Pretrial Conference Dates                      Date
   5                                                                                  mm/dd/yyyy
            Check one:        Jury Trial or   Court Trial   Magistrate Judge                            Jury Trial
   6        (Monday at 9:00 a.m. within 12 months of Scheduling Conference)                             Court Trial
            Estimated Duration: _______ Days
   7        Final Pretrial Conference (“FPTC” [L.R. 16]
            (Friday at 3:00 p.m. at least 18 days before trial)
                                          Event 1                            Weeks    Parties’ Joint
   8                 Note: Hearings shall be on Fridays at 1:30 pm           Before       Date         Court Order
                          Other dates can be any day of the week             FPTC2    mm/dd/yyyy
   9        Last Date to Hear Motion to Amend Pleadings / Add Parties
            [Friday]
   10       Fact Discovery Cut-Off                                            18
            (No later than deadline for filing dispositive motion)
   11       Expert Disclosure (Initial)                                       16
            Expert Disclosure (Rebuttal)                                      14
   12
            Expert Discovery Cut-Off                                          14
   13       Last Date to Hear Motions
            • Rule 56 Motion due at least 6 weeks before hearing              12
            • Opposition due 2 weeks after Motion is filed before hearing;
   14       • Reply due 1 week after Opposition is filed
            Last Day to Hear Daubert Motions                                  8
   15   Deadline to Complete Settlement Conference [L.R. 16-15]
         Select one:      1. Magistrate Judge (with Court approval)                                     1. Mag.J.
                          2. Court’s Mediation Panel                          5                         2. Panel
   16                     3. Private Mediation                                                          3. Private
        Trial Filings (first round)
   17    • Motions In Limine (except Daubert)
         • Memoranda of Contentions of Fact and Law [L.R. 16-4]
         • Witness Lists [L.R. 16-5]
   18    • Joint Exhibit List [L.R. 16-6.1]
         • Joint Status Report Regarding Settlement                           4
         • Proposed Findings of Fact and Conclusions of Law
   19       [L.R. 52] (court trial only)
         • Declarations containing Direct Testimony, if ordered
   20       (court trial only)
        Trial Filings (second round)
          • Oppositions to Motions in Limine
   21     • Joint Proposed Final Pretrial Conference Order [L.R. 16-7]
          • Joint/Agreed Proposed Jury Instructions (jury trial only)
          • Disputed Proposed Jury Instructions (jury trial only)
   22     • Joint Proposed Verdict Forms (jury trial only)                    2
          • Joint Proposed Statement of the Case (jury trial only)
   23     • Proposed Additional Voir Dire Questions, if any (jury trial
        only)
          • Evidentiary Objections to Declarations of Direct Testimony
   24       (court trial only)
        1  Once issued, this “schedule may be modified only for good cause and with the judge’s consent.”
   25   Fed. R. Civ. P. 16(b)(4).
        2 The numbers below represent the Court’s recommended timeline. The parties may propose alternate
        dates based on the needs of each individual case. Class Actions and ERISA cases may need to vary
   26   from the above.

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   1         1.   Weeks Before FPTC. The “Weeks Before FPTC” column reflects what

   2    the Court believes is appropriate for most cases and will allow the Court to rule on

   3    potentially dispositive motions sufficiently in advance of the Final Pretrial

   4    Conference. However, counsel may ask for earlier last dates by which the key

   5    requirements must be completed. Each date should be stated as month, day, and

   6    year, e.g., 10/15/2019.

   7         2.   Hearings. Hearings shall be on Fridays at 1:30 p.m. The Final Pretrial

   8    Conference shall be at 3:00 p.m. Other deadlines (those not involving the Court)

   9    can be any day of the week. Counsel must avoid holidays. The Court may order

   10   different dates than those requested. Believing that young lawyers need more

   11   opportunities for appearances than they usually receive, the Court encourages lead

   12   trial counsel to permit junior counsel, of five or fewer years out of law school, to

   13   fully participate in Court proceedings, including arguing motions and examining

   14   witnesses.

   15        3.   Discovery Cut-Off Date. The discovery cut-off date is the last date by

   16   which all depositions must be completed, responses to previously served written

   17   discovery must be provided, and motions concerning discovery disputes must be

   18   heard.

   19        4.   Motions Cut-Off. The cut-off date for motions is the last date on which

   20   motions may be heard, not filed.

   21        5.   Additional Dates. If the parties wish the Court to set dates in addition to

   22   those on the Worksheet, they may so request by a separate Stipulation and

   23   Proposed Order. This is often appropriate for class actions, patent cases, and

   24   ERISA cases. For ERISA Cases Involving Benefits Claims, the parties may receive

   25   a scheduling conference order as a matter of course. Because the ordinary pretrial

   26   and trial schedule does not apply to these ERISA cases, the parties need only

   27   submit a joint status report identifying any special issues that should be considered.

   28   The parties should proceed with the preparation of the administrative record and


                                                9.
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    1    briefing without delay upon service of the complaint. A court trial, ordinarily

    2    limited to oral argument on the administrative record, will be scheduled within

    3    six months from the filing of the original complaint, unless good cause for

    4    additional time is shown in the status report. If the Court concludes that the

    5    decision would not benefit from oral argument, the matter may be submitted for

    6    decision on the papers.

    7    D.   COUNSEL MUST DELIVER ORDER TO CLIENTS. Counsel are

    8    ordered to deliver to their clients a copy of this Order, which will contain the

    9    schedule that the Court sets at the scheduling conference. This and all other

    10   generally applicable orders of this court are available on the Central District of

    11   California website, www.cacd.uscourts.gov.

    12
    13        IT IS SO ORDERED.

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    15
    16 Dated: May 6, 2024
    17                                             ______________________________________
                                                   HON. WESLEY L. HSU
    18                                             UNITED STATES DISTRICT JUDGE

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